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 4   Email: LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     JAIME MAROTTE
 6
                       IN THE UNITED STATES DISTRICT COURT
 7                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA                  )    Case No. Cr.S   11-77 WBS
                                               )
10
               Plaintiff                       )    STIPULATION AND PROPOSED
                                               )    ORDER CONTINUING
11
                      v                        )    SENTENCING
12                                             )    ORDER (PROPOSED)
     JAIME MAROTTE                             )
13                                             )
               Defendant                       )
14                                             )

15
               It is hereby stipulated between the parties that
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     sentencing in this matter be continued to August 13, 2012 at 9:30
17
     a.m. There is as to this defendant a cooperation agreement and the
18

19
     other defendants have not yet resolved their case.         Accordingly,

20   it is appropriate that this matter be continued until they do.

21       Dated: June 25, 2012                  Respectfully submitted,

22                                             /s/MICHAEL B. BIGELOW
                                               Michael B. Bigelow
23                                             Attorney for Defendant
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 1   IT IS SO STIPULATED
 2
     DATED: June 25, 2012                /s/MICHAEL B. BIGELOW
 3
                                         Attorney for Defendant Marotte
 4

 5   DATED: June 25, 2012                /s/JASON HITT
                                         Assistant United States Attorney
 6

 7                                  IT IS SO ORDERED

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 9   DATED:    June 25, 2012
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